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DUANE MORRIS LLP DOC #:

Vanessa C, Hew

 

Gregory P. Gulia DATE FILEDYUL 0 2013

 

R. Terry Parker

1540 Broadway

New York, NY 10036-4086
Tel. No. (212) 692-1000

and

Larry Selander (admitted pro hac vice)
Elinor L. Hart (admitted pro hac vice)
190 South LaSalle Street, Suite 3700

Chicago, IL 60603-3433
Tel. No. (312) 499-6700

Attorneys for Plaintiffs

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

APOLLO GROUP, INC. and UNIVERSITY OF
PHOENIX, INC.,

Plaintiffs, Case No.: 13 Civ. 1336 (AJN)

Vv. NOTICE OF DISMISSAL
CHEGG, INC., STUDENT OF FORTUNE, INC., ECF CASE

DANIEL ROSENSWEIG, and SEAN MCCLEESE,

Defendants.

 

 

Plaintiffs, Apollo Group, Inc. and University of Phoenix, Inc., by their attorneys, Duane
Morris LLP, hereby dismiss the above action, with prejudice and without costs against any party,
pursuant to Rule 41(a)(i) of the Federal Rules of Civil Procedure. This Court shail retain

jurisdiction to enforce the Settlement.
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Dated: New York, New York |
July 3, 2013

ectfully Submitted,

 
 

  

Jam#¢s David Weirfberge:
‘ROSS ZELNICK.LEE

866 United Nations Plaza

New York, NY 10004

212-813-5952 (Telephone)

jweinberger@frosszelnick.com (Email)

Michael H, Page

DURIE TANGRI LLP

217 Leidesdorff Street

San Francisco, CA 94111
415-362-6666 (Telephone)
mpage@durietangri.com (Email)

Attorneys for Defendants Chegg, Inc.,
Student of Fortune, Inc., and Daniel
Rosensweig

 

William C, Silverman
GREENBERG TRAURIG LLP
MetLife Building 200 Park Ave.
New York, NY 10166
212-801-3148 (Telephone)
silvermanw@gtlaw.com (Email)

Attorneys for Defendant Sean McCleese

MAN & ZISSU, P.C.

 

Page ZOTe

 

Jean-Paul Jassy

BOSTWICK & JASSY LLP

12400 Wilshire Boulevard, Suite 400
Los Angeles, California 90025
310-979-6059 (Telephone)
310-314-8401 (Facsimile)
jpjassy@bostwickjassy.com (Email)

Attorneys for Defendant Nikhil Sreenath

 

Gregory P. Gulia

Vanessa C, Hew

Robert Terry Parker

DUANE MORRIS LLP

1540 Broadway

New York, NY 10036-4086
212-692-1000 (Telephone)
gpgulia@duanemorris.com (Email)
vchew@duanemorris.com (Email)
tparker@duanemorris.com (Email)

Larry Selander

Elinor L, Hart

DUANE MORRIS LLP

190 South Lasalle Street, Suite 3700
Chicago, IL 60603

312-499-6700 (Telephone)
Iselander@duanemorris.com (Email)
ehart@duanemorris.com (Email)

Attorneys for Plaintiffs Apollo Group, Inc.
and University of Phoenix, Inc.
 

 

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Dated: New York, New York
July 3, 2013

Respectfully Submitted,

 

James David Weinberger

FROSS ZELNICK LEHRMAN & ZISSU, P.C.

866 United Nations Plaza

New York, NY 10004

212-813-5952 (Telephone)
jweinberger@frosszelnick.com (Email)

Michael H. Page
DURIE TANGRI LLP
217 Leidesdorff Street
San Francisco, CA 94111
415-362-6666 (Telephone)
_ mpage@durietangri.com (Email)

Attorneys for Defendants Chegg, Inc.,
Student of Fortune, Inc., and Daniel

Rosensweig 77a
‘GREENBERG TRAURIG LLP

“William C. Silverman
MetLife Building 200 Park Ave.
New York, NY 10166

212-801-3148 (Telephone)
silvermanw@gtlaw.com (Email)

Atlorneys for Defendant Sean McCleese

 

Jean-Paul Jassy

BOSTWICK & JASSY LLP

12400. Wilshire Boulevard, Suite 400
Los Angeles, California 90025
310-979-6059 (Telephone)
310-314-8401 (Facsimile)
jpjassy@bostwickjassy.com (Email)

- Attorneys for Defendant Nikhil Sreenath

 

Gregory P, Gulia

Vanessa C, Hew

Robert Terry Parker

DUANE MORRIS LLP

1540 Broadway

New York, NY 10036-4086
212-692-1000 (Telephone)
gpgulia@duanemorris.com (Email)
vchew@duanemortis.com (Email)

~ tparker@duanemorris.com (Email)

Larry Selander

Elinor L, Hart

DUANE MORRIS LLP

190 South Lasalle Street, Suite 3700
Chicago, I, 60603

312-499-6700 (Telephone)
lselander@duanemorris.com (Email)
ehart@duanemorris.com (Email)

Attorneys for Plaintiffs Apollo Group, Inc.
and University of Phoenix, Inc.
 

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Dated: New York, New York

July %& , 2013

Respectfully Submitted,

abl

 

 

James David Weinberger Jean-Paul
FROSS ZELNICK LEHRMAN & ZISSU, P.C. “BOSTWICK & JASSY LLP
866 United Nations Plaza 12400 Wilshire Boulevard, Suite 400
New York, NY 10004 Los Angeles, California 90025
212-813-5952 (Telephone) 310-979-6059 (Telephone)
jweinberger@frosszelnick.com (Email) 310-314-8401 (Facsimile)

jpjassy @bostwickjassy.com (Email)
Michael H. Page Fs pecially @ppeecia
DURIE TANGRI LLP Attorneysfor Defendant Nikhil Sreenath
217 Leidesdorff Street Groh aduithel im USBat Cl SDNY)
San Francisco, CA 94111
415-362-6666 (Telephone)
mpage@durietangri.com (Email) Gregory P. Gulia

Vanessa C. Hew
Attorneys for Defendants.Chegg, Inc., Robert Terry Parker
Student of Fortune, Inc., and Daniel DUANE MORRIS LUP
Rosensweig 1540 Broadway

New York, NY 10036-4086
212-692-1000 (Telephone)
gpgulia@duanemorris.com (Email)

 

William C. Silverman - vchew@duanemorris.com (Email)
GREENBERG TRAURIG LLP tparker@duanemorris.com (Email)
MetLife Building 200 Park Ave.
New York, NY 10166 Larry Selander
212-801-3148 (Telephone) Elinor L. Hart
silvermanw@gtlaw.com (Email) DUANE MORRIS LLP

190 South Lasalle Street, Suite 3700
Attorneys for Defendant Sean McCleese | Chicago, TL 60603

312-499-6700 (Telephone)
Iselander@duanemorris.com (Email)
ehart@duanemorris.com (Email)

Attorneys for Plaintiffs Apollo Group, Inc.
and University of Phoenix, Inc.

 
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Dated: New York, New York

 

 

July =_, 2013
Respectfully Submitted,
James David Weinberger Jean-Paul Jassy
FROSS ZELNICK LEHRMAN & ZISSU, P.C. BOSTWICK & JASSY LLP
866 United Nations Plaza 12400 Wilshire Boulevard, Suite 400
New York, NY 10004 Los Angeles, California 90025
212-813-5952 (Telephone) 310-979-6059 (Telephone)
jweinberger@frosszelnick.com (Email) 310-314-8401 (Facsimile)

jpjassy@bostwickjassy.com (Email)
Michael H. Page
DURIE TANGRI LLP Attorneys for Defendant Nikhil Sreenath
217 Leidesdorff Street
San Francisco, CA 94111
415-362-6666 (Telephone)

 

mpage@durietangri.com (Email) Gregory P. Gulia
Vanessa C. Hew
Attorneys for Defendants Chegg, Inc., Robert Terry Parker
Student of Fortune, Inc., and Daniel DUANE MORRIS LLP
Rosensweig 1540 Broadway

New York, NY 10036-4086
212-692-1000 (Telephone)
gpgulia@duanemorris.com (Email)

 

William C. Silverman vchew@duanemorris.com (Email)
GREENBERG TRAURIG LLP tparker@duanemorris.com (Email)
MetLife Building 200 Park Ave.
New York, NY 10166 Larry Selander
212-801-3148 (Telephone) Elinor L. Hart
silvermanw@gtlaw.com (Email) DUANE MORRIS LLP

190 South Lasalle Street, Suite 3700
Attorneys for Defendant Sean McCleese Chicago, IL 60603

312-499-6700 (Telephone)
lselander@duanemorris.com (Email)
ehart@duanemorris.com (Email)

Attorneys for Plaintiffs Apollo Group, Inc.
and University of Phoenix, Inc.
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on/Alison J. Nathan
United States District Court Judge
